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                      UNITED STATES BANKRUPTCY COURT
                                   FOR THE
                         DISTRICT OF MASSACHUSETTS



 In re:                                       Chapter 13
 Sampaio, Jacqueline de Oliveira              Case No. 21-11213
                      Debtor



            NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

       Now comes Van Dam Law LLP and hereby files its Notice of Appearance and
 Request for Notice on behalf of Avidia Bank.

                                               Respectfully
                                               submitted,
                                               Avidia Bank
                                               By its attorney,

                                               /s/ Michael Van Dam
                                               Michael Van Dam, Esq. (BBO#
                                               653979)
                                               Van Dam Law LLP
                                               233 Needham Street
                                               Newton, MA 02464
                                               Tel: 617-969-2900
                                               Fax: 617-964-4631

                                               Dated: September 10, 2021
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                              CERTIFICATE OF SERVICE

 I, Michael Van Dam, hereby certifies that the attached Notice has been served by the

 CM/ECF system on September 10, 2021 upon the following party:


 Cynthia Ravosa, Esq. (attorney for Debtor)

 Carolyn Bankowski, Esq.


                                                            Respectfully submitted,
                                                            Avidia Bank, by its
                                                            Attorneys,


                                                            /s/ Michael Van Dam
                                                            Michael Van Dam, Esq.
                                                            (BBO # 653979)
                                                            Van Dam Law LLP
                                                            233 Needham Street
                                                            Needham, MA 02464
                                                            Tel: 617-969-2900
                                                            Fax: 617-964-4631
